       Case 19-23303-CMB                        Doc 70        Filed 06/05/24 Entered 06/05/24 09:23:38                         Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              MITCHELL R. STEELE, JR.


     Debtor 2              SHANNON L. STEELE
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          19-23303CMB




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  PNC BANK NA                                                                     14

 Last 4 digits of any number you use to identify the debtor's account                         1   8   6   2

 Property Address:                             723 LOWRY AVE
                                               JEANNETTE PA 15644




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        8,426.47

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        8,426.47

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        8,426.47



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $425.83
         The next postpetition payment is due on                 5 / 1 / 2024
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     MITCHELL R. STEELE, JR.                                          Case number (if known) 19-23303CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date    06/05/2024


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     MITCHELL R. STEELE, JR.                                        Case number (if known) 19-23303CMB
             Name




                                                  Disbursement History

Date         Check #     Name                                     Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
06/25/2021   1201579     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         482.93
08/26/2021   1207928     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         381.20
09/24/2021   1211028     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         198.87
10/25/2021   1214104     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         183.20
11/22/2021   1217140     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         182.83
12/23/2021   1220215     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         182.44
01/26/2022   1223278     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         569.72
03/25/2022   1229122     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         349.61
04/26/2022   1232161     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         181.28
05/25/2022   1235204     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         180.89
06/27/2022   1238226     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         564.88
07/26/2022   1241162     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         180.11
08/24/2022   1244046     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         179.72
09/27/2022   1246927     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         179.33
09/28/2022   1246927     PNC BANK NA                              CANCELLED CHECK TO CREDITOR/PRINCIPLE                -179.33
09/28/2022   1247824     PNC BANK NA                              PREWRITTEN CHECK TO CREDITOR/PRINCIPLE                179.33
10/25/2022   1249729     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         171.09
11/23/2022   1252522     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         162.88
12/22/2022   1255263     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         162.52
01/26/2023   1257995     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         532.86
02/23/2023   1260585     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         161.79
03/28/2023   1263372     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         161.42
04/25/2023   1266180     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         161.04
05/25/2023   1269050     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         160.64
06/26/2023   1271939     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         156.03
02/26/2024   1293498     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         461.02
03/26/2024   1296149     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         210.84
04/25/2024   1298812     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                       1,927.33
                                                                                                                      8,426.47

MORTGAGE REGULAR PAYMENT (Part 3)
12/23/2019   1143844     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               679.51
03/23/2020   1154313     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               307.23
04/27/2020   1157760     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               401.93
05/26/2020   1161094     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR            1,837.85
06/26/2020   1164256     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               979.98
09/28/2020   1173529     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               788.96
10/26/2020   1176616     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               554.17
11/24/2020   1179685     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               547.02
12/21/2020   1182624     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               271.00
01/25/2021   1185616     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               808.68
02/22/2021   1188737     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               536.91
03/26/2021   1192046     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               803.36
04/26/2021   1195281     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               425.83
05/25/2021   1198392     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               425.83
06/25/2021   1201579     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               425.83
07/26/2021   1204780     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               317.42
08/26/2021   1207928     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               534.24
09/24/2021   1211028     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               425.83
10/25/2021   1214104     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               425.83
11/22/2021   1217140     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               425.83
12/23/2021   1220215     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               425.83
01/26/2022   1223278     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               425.83
02/23/2022   1226151     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               278.25
03/25/2022   1229122     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               573.41
04/26/2022   1232161     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               425.83
05/25/2022   1235204     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               425.83
06/27/2022   1238226     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               425.83
07/26/2022   1241162     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               425.83
08/24/2022   1244046     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               425.83
09/27/2022   1246927     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR               425.83
09/28/2022   1246927     PNC BANK NA                              CANCELLED CHECK TO CREDITOR/CONTINUING DEBT-425.83
09/28/2022   1247824     PNC BANK NA                              PREWRITTEN CHECK TO CREDITOR/CONTINUING DEBT425.83

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Debtor 1     MITCHELL R. STEELE, JR.                                        Case number (if known) 19-23303CMB
             Name




                                                  Disbursement History

Date         Check #     Name                                     Posting Type                                         Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
10/25/2022   1249729     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         425.83
11/23/2022   1252522     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         425.83
12/22/2022   1255263     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         425.83
01/26/2023   1257995     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         425.83
02/23/2023   1260585     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         425.83
03/28/2023   1263372     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         425.83
04/25/2023   1266180     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         425.83
05/25/2023   1269050     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         425.83
06/26/2023   1271939     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         425.83
07/25/2023   1274683     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         152.60
09/26/2023   1280196     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         585.38
10/25/2023   1282906     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         580.42
11/27/2023   1285584     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         581.43
12/21/2023   1288158     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         582.36
01/26/2024   1290854     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         498.62
02/26/2024   1293498     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         425.83
03/26/2024   1296149     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         425.83
05/29/2024   1301519     PNC BANK NA                              AMOUNTS DISBURSED TO CREDITOR                         425.83
                                                                                                                     24,272.31




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

MITCHELL R. STEELE, JR.
SHANNON L. STEELE
723 LOWRY AVENUE
JEANNETTE, PA 15644

MAUREEN KROLL
8981 NORWIN AVE
STE 203
NORTH HUNTINGDON, PA 15642

PNC BANK NA
PO BOX 94982
CLEVELAND, OH 44101

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




6/5/24                                                         /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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